  [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
             United States Court of Appeals
                 For the First Circuit

No. 98-1800

                      UNITED STATES,

                        Appellee,

                            v.

                    THOMAS E. WILSON,

                  Defendant, Appellant.

       APPEAL FROM THE UNITED STATES DISTRICT COURT

            FOR THE DISTRICT OF MASSACHUSETTS

   [Hon. Frank H. Freedman, Senior U.S. District Judge]

                          Before

                  Selya, Circuit Judge,
             Bownes, Senior Circuit Judge,
               and Stahl, Circuit Judge.

 Lori H. Levinson and Cain, Hibbard, Myers &amp;amp; Cook, P.C. on
brief for appellant.
 Donald K. Stern, United States Attorney, Ariane D. Vuono,
Assistant U.S. Attorney, on Motion for Summary Disposition for
appellee.

                     March 4, 1999

                                           Per Curiam.  Thomas E. Wilson appeals from an
enhanced sentence that was imposed in 1994, pursuant to the
Armed Career Criminal Act, 18 U.S.C.  924(e), following his
guilty plea to being a felon in possession of a firearm, in
violation of  922(g)(1).  The district court, having failed to
advise Wilson of his right to appeal at sentencing, later
granted (in part) Wilson's  2255 motion and reinstated his
right to appeal his sentence.  This appeal represents Wilson's
exercise of that reinstated right.
          Wilson challenges his conviction and enhanced
sentence on the ground that his prior Massachusetts convictions
did not qualify as predicate offenses because his civil rights
had been restored with respect to those convictions.  He relies
upon 18 U.S.C.  921(a)(20), which provides, in relevant part,
that a conviction "shall not be considered" as a predicate
offense where
          a person . . . has had civil rights
          restored . . . , unless such . . .
          restoration of civil rights expressly
          provides that the person may not ship,
          transport, possess or receive firearms.

The parties agree that Massachusetts law has restored Wilson's
civil rights.  The focus of this appeal is the interpretation
to be given to the "unless clause" of  921(a)(20).
          "Massachusetts materially restricts an ex-felon's
right to carry and traffic in firearms regardless of the
passage of time." United States v. Alston, 112 F.3d 32, 37 (1st
Cir. 1997); see United States v. Estrella, 104 F.3d 3, 7 (1st
                             -2-
Cir. 1997)(listing Massachusetts statutory restrictions). 
Despite the absence of a total prohibition of the right to
possess firearms, Massachusetts' "patchwork of restrictions"
triggers the "unless clause" such that  921(a)(20) does not
protect the ex-felon. Estrella, 104 F.3d at 8 (holding that
Estrella was not excepted from the felon-in-possession
statute).  The holding in Estrella has also been applied to
affirm sentencing enhancements under  924(e). See United
States v. Blodgett, 130 F.3d 1, 3-4 (1st Cir. 1997); Alston,
112 F.3d at 37-38.
          The Supreme Court recently resolved a division among
various circuits over the interpretation to be given to the
"unless clause" and endorsed the approach taken by this circuit
in Estrella, supra. See Caron v. United States, 118 S.Ct. 2007(1998).  The court interpreted the "unless clause" to apply
when the state forbids one or more types of firearms, adopting
the following reasoning:

          a state weapons limitation on an offender
          activates the uniform federal ban on
          possessing any firearms at all.  This is
          so even if the guns the offender possessed
          were ones the State permitted him to have. 
          The State has singled out the offender as
          more dangerous than law-abiding citizens,
          and federal law uses this determination to
          impose its own broader stricture.

Id. at 2011-12.  The Court affirmed this court's judgment
ordering that Caron be sentenced as an armed career criminal
under  924(e). Id. at 2012.
          Wilson's argument that the Supreme Court's Carondecision does not apply to him because it had not yet been
decided when he became aware of his right to appeal in August
1997, is unavailing.  The Supreme Court's Caron decision
affirmed a judgment of this court applying the approach taken
in Estrella, supra.  Therefore, it makes no difference to the
outcome of this appeal whether we apply the Supreme Court's
Caron decision or (as Wilson urges us to do) the law of this
circuit as it existed in August 1997.  The district court did
not err in treating the prior Massachusetts convictions as
predicate offenses for purposes of  922(g)(1) and 924(e). 
Nor did Wilson receive ineffective assistance of counsel
because his attorney did not challenge the use of the predicate
offenses.
          The government's motion for summary affirmance is
granted.  See Loc.R. 27.1.
